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                    EXHIBIT A
                    (Redacted)
                                                                             Case 4:20-cv-05640-YGR                                                            Document 1413-2                                                        Filed 03/31/25                                           Page 2 of 2
                                                                                                                                                                       Privilege Log Entries


                                                                                                                                                                                                                                                                                                                                                        Attorneys, Legal
                                                                                                                                                                                                                                                                                                                                                        Staff, and                  Special Master
Production Bates of                                                                                                                                                                                                                                                                                                                   Additional        Employees Acting            Determination
Parent Document                  Production Bates Production Bates                                     Document                                                                                                                                                           Redact or   Privilege        Privilege                      Privilege         at the Direction of         (Priv - Yes; Priv -
(Folder Title)      Doc Number Beginning          End              Custodians                          Date         Document Time From                 To                 Cc                                      Bcc   Subject                Original Name              Withhold    Type             Description                    Context           counsel                     No)
Correspondence Involving Only Non-Legal Personnel
                                                                                                                                                                                                                                                                                                       Document with redacted
                                                                                                                                                                                                                                                                                                       text reflecting legal advice
                                                                                                                                                                                                                                                                                                       from counsel regarding       Non-attorneys
                                                                                                                                                                                                                                               Personal messages Atusa                                 foreign regulatory issues in discussing questions
                                                                                                                                                                                                                                               Savio and Carolina Nugent -                             the European Union,          for Apple legal and Ling Lew (Apple in-house
PRIV-APL-EG_00098215     2652     PRIV-APL-EG_00098215 PRIV-APL-EG_00098220 Savio, Atusa              2022-06-03    00:03:37                                                                                                                   2022-06-03 (UTC).pdf        Redact     AttorneyClient   including DMA.               outside counsel.     counsel)                   Yes, except page 98218.

                                                                                                                                                                                                                                                                                                       Email chain reflecting legal
                                                                                                                                                                                                                                                                                                       advice from counsel
                                                                                                                                                                                                                                                                                                       regarding injunction
                                                                                                                                 Archelle Thelemaque   Peter Ajemian      Adam Dema                                     Re: Sync re: JP2B      20231219-0739 Re: Sync re:                              compliance requirements                          Apple App Store in-house
PRIV-APL-EG_00156327      832     PRIV-APL-EG_00156327 PRIV-APL-EG_00156334 Ajemian, Peter            2023-12-19    15:39:39                                                                                            Evaluation             JP2B Evaluation.eml        Redact      AttorneyClient   for link format and buttons.                     counsel                     Yes
Emails Primarily Discussing Business-Related Topics

                                                                                                                                                                          Sam Muther Bavaro                                                                                                                                        Email chain in which Gibson Dunn (outside
                                                                                                                                                                                         ; Justin Ruiz                                                                                                                             counsel seeks          counsel); Weil Gotshal and
                                                                                                                                                                                                Stephanie                                                                                                                          consistent updates Manges (outside counsel);
                                                                                                                                                                          Fine                          ;                                                                                                                          regarding statistics Jennifer Brown (Apple in-
                                                                                                                                                                          Jennifer Brown                                                                                                                                           for the App Store link house counsel); Jenny Lee
                                                                                                                                                                                                                                                                                                       Email chain with redacted programs in various (Apple in-house counsel);
                                                                                                                                                                          Sean Cameron                                                                                                                 text providing information countries, including Ling Lew (Apple in-house
                                                                                                                                                                                                                                               20240517-0848 Re:                                       for the purpose of          United States and      counsel); Sean Cameron
                                                                                                                                                                          Joshua Wesneski                               Re: Pending StoreKit   Pending StoreKit                                        rendering legal advice to   Russia, for the        (Apple in-house counsel);
                                                                                                                                 Seema Shembekar       Ling Lew                                       ;                 entitlement requests   entitlement requests                                    counsel regarding foreign purpose of providing Stephanie Fine (Apple in-
PRIV-APL-EG_00157336      961     PRIV-APL-EG_00157336 PRIV-APL-EG_00157350 Bavaro, Sam               2024-05-17    15:48:11                                                                                            report                 report.eml                 Redact      AttorneyClient   regulatory issues in Russia related legal advice. house counsel)              Yes

                                                                                                                                                                          Sam Muther Bavaro                                                                                                                                         Draft press
                                                                                                                                                                                          ; Stoney Gamble                                                                                                                           statements sent to
                                                                                                                                                                                             ; Eric Albert                                                                                                                          legal team for review
                                                                                                                                                                                                Ann Thai                                                                                               Email chain with redacted prior to response
                                                                                                                                                                                              ; Fred Sainz                                                                                             text reflecting information and related
                                                                                                                                                                                            ; Brendan                                                                                                  for the purpose of obtaining redactions to third-
                                                                                                                                                                          McNamara                                                                                                                     legal advice with counsel party edits that are Ling Lew (Apple in-house
                                                                                                                                                                                                           ;                                                                                           regarding foreign            necessary to protect counsel); Brendan
                                                                                                                                                                                                           ;                                   20240517-1107 Re: EU alt                                regulatory issues in the     the details of the    McNamara (Apple in-house
                                                                            Ajemian, Peter; Thai,                                Ling Lew              Peter Ajemian      Archelle Thelemaque                           Re: EU alt marketplace marketplace -- Apple +                                  European Union, including content responded to counsel); Tom McNamara
PRIV-APL-EG_00259982     11222    PRIV-APL-EG_00259982 PRIV-APL-EG_00259998 Ann; Bavaro, Sam          2024-05-17    18:07:37                                                                                            // Apple + Bloomberg Bloomberg.eml                Redact      AttorneyClient   DMA                          by legal team.        (Apple in-house counsel) Yes

                                                                                                                                                                          Ann Thai                        ;                                                                                            Email chain reflecting legal Email chain with
                                                                                                                                                                          Fred Sainz                                                                                                                   advice from counsel          business team
                                                                                                                                                                          Isaac Rubin                         ;                                                                                        regarding injunction         asking for legal team
                                                                                                                                 Eric Albert           Ling Lew           Latika Kirtane Raman                          Re: DMA Comms          20231127-2219 Re: DMA                                   compliance requirements clarification and legal Ling Lew (Apple in-house
PRIV-APL-EG_00260161     11244    PRIV-APL-EG_00260161 PRIV-APL-EG_00260163 Kirtane, Latika; Thai, Ann 2023-11-28   06:19:20                                                                                            Meeting                Comms Meeting.eml          Redact      AttorneyClient   for link format and buttons. team providing input. counsel)                  Yes


                                                                                                                                                                                                                                                                                                       Email chain with redacted
                                                                                                                                                                                                                                                                                                       text providing information
                                                                                                                                                                                                                                                                                                       for the purpose of obtaining
                                                                                                                                                                                                                                                                                                       legal advice from counsel
                                                                                                                                                                                                                                                                                                       regarding foreign
                                                                                                                                 Brendan McNamara                                                                       Re: Request for today: 20240128-0352 Re:                                       regulatory issues press
                                                                                                                                                       Peter Ajemian                                                    updated reactive       Request for today: updated                              and communications legal                          Brendan McNamara
PRIV-APL-EG_00156271      819     PRIV-APL-EG_00156271 PRIV-APL-EG_00156273 Ajemian, Peter            2024-01-28    11:51:43                                                                                            materials              reactive materials.eml     Redact      AttorneyClient   strategy                                         (Apple in-house counsel)    Yes
